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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

MELODY JOY CANTU and
DR. RODRIGO CANTU,

Plaintiffs,
SA-20-CV-746-JKP (HJB)

V.

DR. SANDRA GUERRA and
DIGITAL FORENSICS CORPORATION,

CGR COR CO? LOD COR 60> 6G> G7 tn 6On 62

Defendants.
ORDER

Before the Court is Movant Lewis K. Harley’s Motion to Withdraw as Attorney for
Digital Forensics Corporation LLC. (Docket Entry 54.) It is hereby ORDERED that Movant
Harley’s motion is GRANTED and he is withdrawn as counsel of record for Defendant Digital

Forensics Corporation.
It is FURTHER ORDERED that a Status Conference in this case will be held on
August 27, 2021, at 10:00 A.M. and this conference will be held by phone. In advance of the
conference, counsel is directed to dial: 888-363-4734, and when prompted to do so, enter Access

Code 1223006 (and press #).

SIGNED on August 6, 2021. fe 1 YR

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nited States Mag/strate Judge

